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                             8
                                 Claimant GOTHAM INSURANCE
                             9   COMPANY and Specially Appearing
                                 Defendant PROSIGHT SPECIALTY
                         10
                                 MANAGEMENT COMPANY, INC.
                         11
                                                      UNITED STATES DISTRICT COURT
                         12
                                        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                         13
                                 SIGMA FINANCIAL                          Case No. 8:15-cv-1531-AG-DFM
                         14
                                 CORPORATION,
                                                                          MEMORANDUM OF POINTS
                         15      a Michigan corporation,
                                                                          AND AUTHORITIES IN
                         16                     Plaintiff,                SUPPORT OF MOTION TO
                                                                          DISMISS SECOND AMENDED
                         17            v.
                                                                          COMPLAINT
                         18      GOTHAM INSURANCE COMPANY,
                         19
                                 a New York corporation; BROWN &          [Fed. R. Civ. P. 9(b), 12(b)(6)]
                                 BROWN PROGRAM INSURANCE
                         20      SERVICES, INC., D/B/A                    Date:    October 31, 2016
                         21
                                 CALSURANCE ASSOCIATES, a                 Time:    10:00 a.m.
                                 California Corporation; CADENCE          Judge:   Hon. Andrew Guilford
                         22      INSURANCE BROKERS, INC., a               Place:   Courtroom 10D
                         23
                                 Tennessee corporation, PROSIGHT                   411 West Fourth Street
                                 SPECIALTY MANAGEMENT                              Santa Ana, CA 92701
                         24      COMPANY, INC., a New York
                         25
                                 corporation,

                         26
                                                Defendants.

                         27
                                 AND RELATED CROSS-CLAIM
                         28
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                              1   I.     INTRODUCTION
                              2          The Court has already held that the terms, conditions and exclusions of the
                              3   excess insurance policy that Gotham issued to Sigma (the Gotham Excess Policy)
                              4   are unambiguous and that no obligations are triggered under that policy with
                              5   respect to the FINRA claims against Sigma. (Dkt. 53, 81 at 7-8.) In light of that
                              6   order, Sigma is now trying to change its theory of the case from one based on
                              7   contract and has filed an amended complaint with a slew of completely new claims
                              8   against Gotham Insurance Company and ProSight Specialty Management
                              9   Company, Inc.1 Like its prior claims, none of those last ditch claims (bad faith,
                             10   fraud, negligence and professional negligence (see Dkt. 81)) has any merit and all
                             11   of them must be dismissed with prejudice pursuant to the Federal Rules of Civil
                             12   Procedure and well-settled California law.
                             13          Tellingly, to support its new claims, Sigma relies on the same allegations that
                             14   failed to support its contract-based claims. Many of those allegations -- particularly
                             15   those regarding or depending on the purported ambiguity of the Gotham Excess
                             16   Policy -- are moot as a result of the Court’s express determinations to the contrary.
                             17   Sigma’s remaining allegations can be summarized as follows: (1) Sigma sought
                             18   excess insurance from Gotham through CalSurance (Sigma’s insurance broker) (id.
                             19   at 4-5); (2) CalSurance reviewed the terms, conditions and exclusions of the
                             20   Gotham Excess Policy prior to accepting the policy (id. at 7); (3) the Gotham
                             21   Excess Policy is unambiguous and is only triggered by complete exhaustion of the
                             22   $10 million general aggregate limit of the Arch primary policy (id. at 12; see also
                             23   Dkt. 53); (4) Sigma was repeatedly sued for its failed “alternative investments,”
                             24   exhausted the $5 million cap on coverage for such investments under the primary
                             25   policy and then sought coverage under the Gotham Excess Policy (id. at 7-8); and
                             26
                                  1
                             27          ProSight has not been served and is specially appearing for purposes of this motion to
                                  dismiss. None of ProSight’s rights with respect to proper service are waived by this special
                             28   appearance.
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                              1   (5) Gotham denied coverage because the $10 million general aggregate limit of the
                              2   Arch primary policy had not yet (and still has not) been exhausted (id. at 8-11).
                              3   Gotham’s coverage position was correct, as confirmed by the Court’s order on
                              4   summary judgment. On these allegations, Sigma’s second amended complaint fails
                              5   to state any cognizable claims against Gotham or ProSight as a matter of law.
                              6         For instance, Sigma cannot prevail on its first claim for bad faith against
                              7   Gotham because policy benefits are not due under the Gotham Excess Policy and,
                              8   thus, were not and could not have been unreasonably withheld as a mater of law.
                              9   Waller v. Truck Ins. Exch., Inc., 11 Cal.4th 1, 35-6 (1995), as modified on denial of
                             10   reh’g (Oct. 26, 1995); Love v. Fire Ins. Exch., 221 Cal.App.3d 1136, 1151-53
                             11   (1990). Thus, even if Sigma had adequately pled this claim in its amended
                             12   complaint, such allegations would directly contradict the Court’s determination that
                             13   there is no coverage obligation under the Gotham Excess Policy at this time. (Dkt.
                             14   53.) Accordingly, Sigma’s bad faith claim must be dismissed with prejudice.
                             15         Sigma’s second claim for fraud by concealment likewise fails for several
                             16   reasons. First, Sigma has failed to plead its fraud claim with the particularity
                             17   required under the Federal Rules (see Fed. R. Civ. P. 9(b)) and Sigma cannot
                             18   legitimately plead such allegations because neither Gotham nor ProSight actually
                             19   concealed or suppressed any material facts regarding the terms, conditions and
                             20   exclusions of the Gotham Excess Policy. As this Court has already determined, the
                             21   terms of the policy at issue are expressly and plainly set out in the insurance
                             22   contract. (Dkt. 53.) It cannot be reasonably disputed (and there are no allegations
                             23   to the contrary in the amended pleading) that Sigma received, reviewed and
                             24   approved the unambiguous terms, conditions and exclusions of the Gotham Excess
                             25   Policy prior to the policy’s issuance and then accepted, paid for and retained the
                             26   policy for years without objection or even question. (Dkt. 53, 81.) Under the
                             27   circumstances, where there is no doubt that the plaintiff had absolute access to all of
                             28   the terms about which it now complains and the Court has already found that all of
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                              1   those terms are plain and clear, none of the necessary elements of a fraud by
                              2   concealment claim can be met. Vess v. Ciba–Geigy Corp. U.S.A., 317 F.3d 1097,
                              3   1106 (9th Cir. 2003); Northrop Grumman Corp. v. Factory Mut. Ins. Co., 2011 WL
                              4   4501945, at *4 (C.D. Cal. Sept. 28, 2011). Because Sigma admits that it reviewed
                              5   and accepted the unambiguous terms of a written contract, it cannot maintain fraud
                              6   claims alleging that the terms of the contract were not disclosed. See Gardens
                              7   Bicycle Casino v. Great Am. Ins. Co., 124 F. App’x 551, 553 (9th Cir. 2005);
                              8   Guerard v. CNA Fin. Corp., 2009 WL 3152055 at *5 (N.D. Cal. Sept. 23, 2009).
                              9         Critically, on virtually the same facts as those alleged in this case, California
                             10   courts (applying California law) have held that an insurer is “blameless” where an
                             11   insured purchases an unambiguous insurance policy but does not have the coverage
                             12   it thought it had when it purchased the policy. Rios v. Scottsdale Ins. Co., 119
                             13   Cal.App.4th 1020, 1029 (2004). Thus, even assuming that Sigma applied for
                             14   different coverage than it eventually purchased (a point that Gotham and ProSight
                             15   dispute but will assume for purposes of this motion), the Gotham Excess Policy
                             16   constituted a counteroffer as a matter of law and an enforceable agreement between
                             17   the parties was created when Sigma reviewed, accepted and paid for that policy. Id.
                             18   There simply is no support for Sigma’s contention here that a fraud claim can lie
                             19   where a plain and unambiguous contract was actually delivered to the plaintiff.
                             20   Accordingly, under Rios, neither Gotham nor ProSight can be liable for fraud or
                             21   negligence and Sigma’s second, third and fourth claims must be dismissed.
                             22         Finally, Sigma’s fourth claim regarding Gotham’s and ProSight’s vicarious
                             23   liability for CalSurance’s and Cadence’s professional negligence is just a one-
                             24   paragraph legal conclusion tacked onto a claim against two other parties. As such,
                             25   it must be disregarded. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To make
                             26   maters even worse, Sigma’s conclusory allegation is nonsensical and impossibly
                             27   vague. See Fed. R. Civ. P. 8(a)(2). Accordingly, Sigma’s fourth claim must also be
                             28   dismissed.
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                              1   II.   SUMMARY OF SIGMA’S ALLEGATIONS2
                              2         The second amended complaint alleges that CalSurance contacted Cadence
                              3   in June 2012 regarding excess insurance for Sigma. (Dkt. 81 at 4.) At all relevant
                              4   times, CalSurance was Sigma’s agent and its insurance broker with respect to the
                              5   excess insurance at issue in this case. (Id. at 3.) The Arch primary policy -- over
                              6   and above which Sigma was seeking excess insurance -- provided limits of $2
                              7   million per claim and $10 million in the aggregate. (Id. at 5.)
                              8         On or about June 27, 2012, Cadence sent an email to Ms. Catherine Jones, an
                              9   underwriting professional for ProSight Specialty Insurance (Gotham’s managing
                             10   agent), and attached Sigma’s application for excess insurance. (Id. at 5-6.)
                             11   Cadence advised Gotham, through Ms. Jones, that Sigma was seeking “$5M excess
                             12   of [the] $10M policy they already have” and further clarified that the excess
                             13   insurance Sigma was requesting would be “excess over $10M[.]” (Dkt. 81-3.)
                             14   Cadence also noted that Sigma had “a bit of claims history. . . . However, since
                             15   [Gotham would be] putting up excess over $10M, the chances of [Gotham] being
                             16   hit [were] small since [Sigma had not] yet gotten close to that $10M limit in one
                             17   year.” (Id.) On that same day, Cadence sent CalSurance a “premium indication”
                             18   that unambiguously stated the “Coverage Offered” would be issued on the terms of
                             19   “Policy Form BD POL Form 2011_02_04,” attached a copy of those terms -- which
                             20   are the same unambiguous coverage terms that Sigma eventually purchased and this
                             21   Court has already interpreted as “clear” – and further expressly stated that the
                             22   “Limit of Liability Offered” was “$5,000,000 [excess of the] $10,000,000 Arch
                             23   limit[.]” (Dkt. 35-3 at 3-7.)3
                             24
                                  2
                                         Gotham and ProSight do not admit the truth of Sigma’s allegations, which
                             25
                                  are summarized herein solely for purposes of the Court’s Rule 12(b)(6) analysis.
                             26   To the extent that Gotham and/or ProSight do not expressly dispute the truth of
                                  certain allegations in this motion, any such failure should not be construed as a
                             27
                                  concession as to the truth of allegations that are not challenged.
                             28   3
                                        The premium indication is part of the record in this case and, thus, is properly
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                              1          On July 18, 2012, Cadence sent CalSurance and Sigma a memorandum
                              2   summarizing the basic terms of the insurance that Gotham would issue. (Dkt. 81 at
                              3   6.) Consistently with the parties’ prior discussions and indications, that document
                              4   stated that Gotham would issue $5 million of excess coverage over the $10 million
                              5   aggregate limit of the primary policy. (Id.) It also contained the same provisions
                              6   set forth in the June 27 premium indication, with the addition of the following
                              7   clarifying language that specified that Gotham would not provide insurance in
                              8   excess of any “per claim” limits:
                              9                      These are additional limits only after complete depletion
                                                     of any primary aggregate limit of liability as described in
                             10                      Arch Insurance Group’s Policy # SBD0000659-08. In no
                                                     event will any limit provided by Gotham Insurance
                             11                      Company apply excess of the underlying per claim limit
                                                     of liability. (Dkt. 81-4, original emphasis.)
                             12
                                         On August 31, 2012, Gotham sent Cadence the Gotham Excess Policy,
                             13
                                  stating “Please review to make sure everything is in order.” (Dkt. 35-5.)
                             14
                                  CalSurance reviewed the Gotham Excess Policy on or about September 24, 2012,
                             15
                                  approved it later that day and sent it to Sigma, which accepted, paid for and retained
                             16
                                  the policy for years without objection or reservation. (Dkt. 81 at 7.)
                             17
                                  III.   DISCUSSION
                             18
                                         A.    Legal Standard
                             19
                                         When ruling on a motion to dismiss under Rule 12(b)(6), the Court must be
                             20
                                  guided by Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atl. Corp. v. Twombly,
                             21

                             22   the subject of judicial notice. Fed. R. Evid. 201. Sigma conceded that both the
                                  premium indication and the proposed terms of excess insurance were issued in June
                             23
                                  2012. (Dkt. 46 at 5.) Although Sigma has since objected to the meaning of the
                             24   terms outlined therein -- years after the issuance of that document and only in the
                                  context of this litigation -- those objections were mooted when the Court
                             25
                                  determined that the coverage provisions were unambiguous. (Dkt. 53.) To the
                             26   extent that this premium indication constitutes a matter outside of the pleadings,
                                  Gotham and ProSight respectfully request that the Court convert this motion to
                             27
                                  dismiss into a motion for summary judgment. Olsen v. Idaho State Bd. of Med.,
                             28   363 F.3d 916, 921-22 (9th Cir. 2004).
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                              1   550 U.S. 544 (2007). “To survive a motion to dismiss, a complaint must contain
                              2   sufficient factual matter . . . to ‘state a claim to relief that is plausible on its face.’”
                              3   Ashcroft v. Iqbal, 556 U.S. at 678 (citation omitted). A motion to dismiss under
                              4   Rule 12(b)(6) must be granted when a complaint fails to state a claim on which
                              5   relief can be granted, even where all of the factual allegations in the complaint are
                              6   accepted as true and construed in the light most favorable to the nonmoving party.
                              7   Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005, 1014 (9th Cir. 2012).
                              8   However, “the tenet that a court must accept as true all of the allegations contained
                              9   in a complaint is inapplicable to legal conclusions. Threadbare recitals of the
                             10   elements of a cause of action, supported by mere conclusory statements, do not
                             11   suffice.” Ashcroft v. Iqbal, 556 U.S. at 678, citing Bell Atl. Corp. v. Twombly, 550
                             12   U.S. at 555. Unwarranted or unsupported factual inferences should also be
                             13   disregarded. Kee v. Mersch, 297 F. App’x 615, 617 (9th Cir. 2008); Adams v.
                             14   Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004).
                             15          If the “well-pleaded facts do not permit the court to infer more than the mere
                             16   possibility of misconduct,” the complaint should be dismissed for failing to “show[]
                             17   that the pleader is entitled to relief[.]” Ashcroft v. Iqbal, 556 U.S. at 679 (internal
                             18   quotation marks omitted). The rationale is obvious -- there is no need to subject a
                             19   defendant to “the expense of discovery and continued litigation” where the
                             20   allegations in a complaint are legally deficient. See Starr v. Baca, 652 F.3d 1202,
                             21   1216 (9th Cir. 2011).
                             22          B.     Sigma’s Bad Faith Claim Fails Because Benefits Are Not Due
                             23          Sigma’s first cause of action for bad faith (breach of the implied covenant of
                             24   good faith) fails as a matter of law because, in light of the conspicuous and
                             25   unambiguous terms of the Gotham Excess Policy (see Dkt. 53), no benefits are due
                             26   to Sigma or were withheld unreasonably, and both elements are required to state a
                             27   bad faith claim under California law. Waller v. Truck Ins. Exch., Inc., 11 Cal.4th at
                             28   35-6; Love v. Fire Ins. Exch., 221 Cal.App.3d at 1151-53. “California law is clear,
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                              1   that without a breach of the insurance contract, there can be no breach of the
                              2   implied covenant of good faith and fair dealing.” Manzarek v. St. Paul Fire &
                              3   Marine Ins. Co., 519 F.3d 1025, 1034 (9th Cir. 2008). Here, there has been no
                              4   breach of contract as a matter of law, so Sigma’s claim for bad faith necessarily
                              5   fails and must be dismissed with prejudice. (Dkt. 53.)
                              6         C.     Sigma’s New Claim For Fraud Has Not Been (And Cannot Be)
                                               Stated With Particularity
                              7
                                        Rule 9(b) requires plaintiffs to state fraud claims with particularity: “In
                              8
                                  alleging fraud . . . a party must state with particularity the circumstances
                              9
                                  constituting fraud . . . .” A court must dismiss a fraud claim when the foundational
                             10
                                  allegations fail to satisfy Rule 9(b)’s heightened pleading requirements. Vess v.
                             11
                                  Ciba–Geigy Corp. U.S.A., 317 F.3d at 1107. To meet that exacting standard in the
                             12
                                  Ninth Circuit, a plaintiff must articulate “the who, what, when, where, and how of
                             13
                                  the misconduct alleged[.]” Id. at 1106; see also Kearns v. Ford Motor Co., 567
                             14
                                  F.3d 1120, 1126-27 (9th Cir. 2009). At a minimum, a plaintiff must plead the
                             15
                                  following elements to state a claim for fraud by concealment with particularity:
                             16
                                               (1) the defendant must have concealed or suppressed a material
                             17                fact, (2) the defendant must have been under a duty to disclose
                                               the fact to the plaintiff, (3) the defendant must have
                             18                intentionally concealed or suppressed the fact with the intent to
                                               defraud the plaintiff, (4) the plaintiff must have been unaware
                             19                of the fact and would not have acted as he did if he had known
                                               of the concealed or suppressed fact, and (5) as a result of the
                             20                concealment or suppression of the fact, the plaintiff must have
                                               sustained damage. (Northrop Grumman Corp. v. Factory Mut.
                             21                Ins. Co., 2011 WL 4501945, at *4 (C.D. Cal. Sept. 28, 2011).)
                             22         Here, Sigma has failed to satisfy any of these requirements -- and cannot ever
                             23   satisfy them -- because as a matter of law and of fact, neither Gotham nor ProSight
                             24   concealed or suppressed anything regarding the coverage afforded under the
                             25   Gotham Excess Policy. Instead, as the Court has already found, the contract terms
                             26   here are unambiguous and were unquestionably in Sigma’s possession at all
                             27   relevant times. (Dkt. 53.) Thus, the foundation of Sigma’s fraud claim is directly
                             28   contradicted by the findings of the Court. (See Dkt. 81 at 15 (alleging that Gotham
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                              1   and ProSight never disclosed the fact that coverage under the Gotham Excess
                              2   Policy would only be triggered on exhaustion of the $10 million general aggregate
                              3   limit of the Arch primary policy) and Dkt. 53 (the Court’s order finding that the
                              4   insurance policy clearly sets forth that the Gotham Excess Policy is only triggered
                              5   after exhaustion of the $10 million aggregate limit of the Arch policy).) The Court
                              6   has already held that the “simple truth” is that the terms, conditions and exclusions
                              7   of the Gotham Excess Policy are unambiguous and straightforward and that
                              8   Gotham’s coverage obligations can only be triggered by full exhaustion of the
                              9   general aggregate limit of the underlying primary policy. (Dkt. 53 at 3, 6.) This is
                             10   the same clear contract that Sigma and its broker always had in their possession,
                             11   custody and control. It is simply absurd for Sigma to argue that Gotham or
                             12   ProSight should be liable for fraud for allegedly failing to disclose the terms of a
                             13   contract when: (1) the relevant terms, conditions and exclusions of that agreement
                             14   are unambiguous as a matter of law (see id.); (2) those same terms, conditions and
                             15   exclusions were contemplated for several months prior to issuance of the policy in
                             16   the premium indication, i.e., the insurance coverage that Gotham offered to sell to
                             17   Sigma and the terms on which such coverage would be issued (see Dkt. 35-3 at 4-7;
                             18   Dkt. 81 at 5-6); (3) the same terms, conditions and exclusions were delivered to
                             19   Sigma and CalSurance in the Gotham Excess Policy (Dkt. 81 at 7); (4) and Sigma
                             20   approved, retained and paid for the coverage delineated in both the premium
                             21   indication and in the Gotham Excess Policy without objection (id.).
                             22         The bottom line is this: How could Gotham and ProSight have “concealed or
                             23   suppressed a material fact” when all of the allegedly suppressed facts were in the
                             24   contract delivered to Sigma, a contract that was reviewed and approved prior to the
                             25   effective date of the policy and then accepted, paid for and retained for years
                             26   without objection? See Northrop Grumman Corp. v. Factory Mut. Ins. Co., 2011
                             27   WL 4501945, at *4. Without any concealment or suppression of a material fact,
                             28   none of the other factors required for Sigma to state its fraud claim with
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                              1   particularity can be pled. Id. The “reasonable reliance” element of Sigma’s fraud
                              2   claim is particularly lacking. In other words, even if Sigma had adequately pled an
                              3   intentionally concealed or suppressed fact that was designed to defraud Sigma (and
                              4   that Sigma did not know to be false), Sigma’s reliance was, as a matter of law,
                              5   unjustifiable because the terms of the Gotham Excess Policy are unambiguous and
                              6   control. Bell Gardens Bicycle Casino v. Great Am. Ins. Co., 124 F. App’x at 553
                              7   (an insured’s reliance on a summary of policy provisions and an agent’s statement
                              8   contradicting plain policy language is, “as a matter of law, not justified”); Guerard
                              9   v. CNA Fin. Corp., 2009 WL 3152055 at *5 (stating the well-settled rule that
                             10   “receipt of a policy and its acceptance by the insured without an objection binds the
                             11   insured as well as the insurer and he cannot thereafter complain that he did not read
                             12   it or know its terms”). Accordingly, Sigma has failed to adequately plead a fraud
                             13   claim and the claim must be dismissed with prejudice.
                             14         D.     Sigma’s New Claims Are Barred By Settled California Law
                             15         Sigma’s allegations in support of its new fraud and negligence claims are
                             16   that: (1) Sigma applied for excess insurance that would be triggered on exhaustion
                             17   of the $5 million “alternative investments” sub-limit, not the $10 million aggregate
                             18   limit of the primary policy (Dkt. 81 at 5-6, 9-10); (2) the Gotham Excess Policy is
                             19   only triggered on full and complete exhaustion of the $10 million general aggregate
                             20   limit of the primary policy (id. at 6-7); and (3) Sigma accepted the Gotham Excess
                             21   Policy -- and paid the premium for the insurance unambiguously provided therein --
                             22   after its broker, CalSurance, reviewed and approved the policy (id. at 7).
                             23         The California Court of Appeal considered the same claims and allegations
                             24   in Rios v. Scottsdale Ins. Co., 119 Cal.App.4th 1020 (2004). In Rios, the owner of a
                             25   jewelry store (Rios) contacted her agent (Whilt) to obtain insurance coverage for
                             26   her jewelry store. Whilt solicited a quote from a surplus lines broker (UCA) and
                             27   submitted an application that requested a quote for “special” business and personal
                             28   property coverage. Id. at 1023-24. UCA could not quote special form coverage
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                              1   because Rios’s building had not been upgraded. UCA did, however, provide a
                              2   quote for “basic” broad form coverage, which did not include coverage for theft
                              3   losses. Id. at 1024. Whilt requested that UCA bind and issue the quoted coverage
                              4   (basic, not special form coverage), and Scottsdale issued the policy to Rios without
                              5   theft coverage. Id. Rios erroneously believed she had theft coverage. Id. Her
                              6   jewelry store was burglarized during the policy period and Scottsdale denied
                              7   coverage because the basic policy did not include insurance for theft losses. Id.
                              8         The trial court granted Scottsdale’s motion for summary judgment on the
                              9   coverage claims because, as here, the policy unambiguously excluded coverage for
                             10   theft losses. Id. at 1025. The trial court also granted Scottsdale’s motion for
                             11   summary judgment on Rios’ bad faith claim because, as here, a “bad faith claim
                             12   cannot be maintained unless policy benefits are due.” Id. at 1027, citing Waller, 11
                             13   Cal.4th at 36 and Love, 221 Cal.App.3d at 1153. The Court of Appeal affirmed
                             14   these rulings. The Court of Appeal also affirmed summary judgment for Scottsdale
                             15   on Rios’ fraud and negligent misrepresentation claims for two separate reasons,
                             16   both of which are applicable here. First, Scottsdale and UCA only dealt with Whilt,
                             17   so the court found that neither UCA nor Scottsdale actually made any
                             18   representations (or omissions) to Rios. Id. at 1028-29. Here, Gotham and ProSight
                             19   dealt exclusively with Cadence and CalSurance and never had any communications
                             20   with Sigma during the underwriting or policy issuance processes. Accordingly,
                             21   neither Gotham nor ProSight can be liable for intentionally misrepresenting the
                             22   terms of the Gotham Excess Policy to Sigma. Rios noted that where an insured is
                             23   represented by a competent insurance broker (here, CalSurance), the insurer is
                             24   “blameless” and cannot be liable for any alleged misrepresentations to the insured.
                             25   Id. at 1029. This is particularly true because the terms of the Gotham Excess Policy
                             26   are unambiguous. (Dkt. 53.)
                             27         Second, and more importantly, Scottsdale and UCA quoted a policy based on
                             28   “basic” coverage, even though Rios had applied for “special” coverage. The Court
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                              1   of Appeal rejected Rios’ claim that she did not get the insurance for which she had
                              2   applied. Both the trial court and the appellate court relied on the well-established
                              3   principle that “[a]n application for insurance is a proposal . . . [T]he proposal is not
                              4   a completed contract until it is accepted by the insurer in the same terms in which
                              5   the offer was made. If the acceptance modifies or alters any of the terms of the
                              6   proposal, it must then in turn be accepted by the applicant to be effective as a
                              7   contract.” Id. at 1029 (emphasis added). In this case, and in response to
                              8   CalSurance’s request for a quote, Gotham quoted excess insurance in June 2012
                              9   that is unambiguously triggered only by exhaustion of the $10 million general
                             10   aggregate limit of the primary policy. (See Dkt. 35-3.) The premium indication for
                             11   the insurance that Gotham was willing to issue clearly stated that the “Coverage
                             12   Offered” would be issued on the terms of “Policy Form BD POL Form
                             13   2011_02_04,” attached a copy of those terms -- which are the same unambiguous
                             14   terms that Sigma eventually purchased -- and stated that the “Limit of Liability
                             15   Offered” was “$5,000,000 [excess of] $10,000,000 Arch limit[.]” (Dkt. 35-3 at 3-
                             16   7.)
                             17         Thus, even assuming that Sigma purchased different insurance than it now
                             18   claims to have wanted, the terms of the Gotham Excess Policy -- which, as
                             19   discussed above, were plain contract terms known by Sigma and its broker for
                             20   months before the policy was issued and accepted -- constituted a counteroffer as a
                             21   matter of law, not an error, and Sigma accepted that counteroffer when it paid for
                             22   and agreed to be bound by the Gotham Excess Policy. Rios, 119 Cal.App.4th at
                             23   1029. Accordingly, under Rios, Gotham and/or ProSight made a counteroffer, not
                             24   an error or misrepresentation as to coverage, and, thus, cannot be liable for fraud or
                             25   negligence.
                             26
                                        E.      Sigma’s Vicarious Liability Claim Fails As Against Gotham And
                             27                 ProSight
                             28         Sigma’s fourth claim -- insofar as one paragraph of that claim attempts to
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                              1   assert a vicarious liability claim against Gotham and ProSight -- is either the
                              2   product of imprecise pleading or simply reflects the fact that there is no validity to
                              3   the claim. (Dkt. 81 at 17.)
                              4         First, in trying to morph its professional negligence cause of action against
                              5   the other defendants (cf. Dkt. 1 at 17-18) into a claim against Gotham and ProSight,
                              6   Sigma simply added the latter two entities to the title of the claim (see Dkt. 81 at
                              7   17:3) and added one new conclusory allegation -- that Cadence and CalSurance
                              8   were both “agents” of Gotham and ProSight (id. at 18:5-9) and that Gotham and
                              9   ProSight are therefore vicariously liable for their purported negligence. That new
                             10   allegation is, at best, a formulaic legal conclusion that must be disregarded for
                             11   purposes of a motion to dismiss. Ashcroft v. Iqbal, 556 U.S. at 678. As a result,
                             12   there are no remaining allegations to support Sigma’s vicarious liability claim.
                             13   Most notably, Sigma has failed to allege (likely because it is untrue) that either
                             14   Cadence or CalSurance had any authority to bind Gotham to obligations beyond or
                             15   different than the unambiguous terms, conditions and exclusions that Gotham
                             16   offered and eventually issued to Sigma in the form of a written contract that Sigma
                             17   accepted. Van’t Rood v. Cty. of Santa Clara, 113 Cal.App.4th 549, 572 (2003) (a
                             18   party who works with another is not necessarily the other’s agent and “[c]ontrol
                             19   may not be inferred merely from the fact that one person’s act benefits another”).
                             20   Because there are no factual allegations to support its vicarious liability claim,
                             21   Sigma’s fourth claim falls short of the basic pleading requirements set forth in Rule
                             22   8(a)(2) and, therefore, must be dismissed pursuant to Rule 12(b)(6).
                             23         Second, Sigma’s allegations just do not make sense. In fact, the first
                             24   substantive allegation in Sigma’s fourth claim is that both CalSurance and Cadence
                             25   were Sigma’s agents with respect to procuring insurance coverage that would be
                             26   excess to the Primary Arch Policy. (Dkt. 81 at 17.) This was not a mistake; Sigma
                             27   also alleged that such a relationship existed (with respect to CalSurance) in the first
                             28   several pages of its amended complaint. (Id. at 3.) So who is the principal and who
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                              1   is the agent? If Sigma’s allegations are assumed to be true, CalSurance and
                              2   Cadence were both agents of Sigma, Gotham and ProSight. This makes no sense
                              3   and the Court need not indulge such reckless factual assertions. Kee v. Mersch, 297
                              4   F. App’x at 617. Indeed, if the allegations are assumed to be true, Sigma is actually
                              5   vicariously liable (as a principal) for CalSurance’s and Cadence’s alleged
                              6   negligence, which purportedly arose in connection with “procuring coverage excess
                              7   to the [primary] Arch Policy[.]” (Dkt. 81 at 17.) Given the ambiguity and
                              8   impossibility of Sigma’s claim, Gotham and ProSight cannot be expected to
                              9   respond.
                             10         Third, this is not a negligence case. At its heart, this is a contract case, which
                             11   is how it was styled before the Court agreed that the contract clearly said what
                             12   Sigma did not want it to say. (See, e.g., Dkt. 81 at 3 (claiming that this is an
                             13   “insurance coverage” action), 18 (seeking damages on the negligence / vicarious
                             14   liability claim for legal fees that Sigma “has incurred and will continue to incur . . .
                             15   to obtain from Gotham the policy benefits to which [Sigma is] entitled”).) Sigma
                             16   purchased unambiguous insurance policies and is now complaining that it had to
                             17   spend its money for losses that were plainly not covered by its insurance contract.
                             18   Sometimes, parties just have to accept responsibility for their decisions and their
                             19   agreements. Sigma’s discontent with the insurance that it decided to purchase --
                             20   and for which it paid -- does not, by itself, make this a coverage dispute (the Court
                             21   has already found that Sigma is not entitled to any coverage under the plain terms
                             22   of its policy) or a negligence or fraud case (the terms of the Gotham Excess Policy
                             23   are unambiguous, were in Sigma’s possession and were accepted and retained for
                             24   years).
                             25   IV.   CONCLUSION
                             26         Despite its desperation in trying to keep Gotham in this case, there simply is
                             27   no merit to any of Sigma’s new claims or theories against Gotham or ProSight and
                             28   all of those claims (bad faith, fraud, negligence and professional negligence) should
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                              1   be dismissed as a matter of law. Fed. R. Civ. P. 12(b)(6). The Court has already
                              2   found as a matter of law that the Gotham Excess Policy clearly does not afford
                              3   insurance for the underlying FINRA claims against Sigma until the primary policy
                              4   has paid out at least $10 million. The Court should not allow Sigma to continue to
                              5   try to recover policy benefits where none are due under theories that have no basis
                              6   in law or fact. This is particularly true because Sigma has already suggested that it
                              7   will appeal the Court’s prior determination as to the plain meaning of the Gotham
                              8   Excess Policy. (See Dkt. 81 at 12-13 (where Sigma “expressly preserve[d] all
                              9   appellate rights with respect to the Court’s order granting partial summary
                             10   judgment in Gotham’s favor and denying Sigma’s motion for partial summary
                             11   judgment”).) Because the claims in Sigma’s amended complaint fail as a matter of
                             12   law and because Sigma obviously intends to pursue its insurance contract claims on
                             13   appeal, the Court should dismiss Sigma’s second amended complaint against
                             14   Gotham and ProSight with prejudice and allow this mater to be finally resolved in
                             15   the Ninth Circuit.
                             16

                             17   Dated: September 28, 2016                    HOGAN LOVELLS US LLP

                             18                                                Mark C. Goodman
                             19                                                Mark C. Goodman
                                                                               Attorneys for Defendant and
                             20                                                Counter/Cross-Claimant GOTHAM
                             21                                                INSURANCE COMPANY and
                                                                               Specially Appearing Defendant
                             22
                                                                               PROSIGHT SPECIALTY
                             23                                                MANAGEMENT COMPANY, INC.
                             24

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